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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                  :       Case No: 21-cr-115
                                           :
         v.                                :
                                           :       40 U.S.C. § 5104(e)(2)(G)
 EDUARDO NICOLAS ALVEAR                    :
 GONZALEZ                                  :
 also known as “Alvear Gonzalez             :
 Eduardo Nicholas,”                         :
 also known as “Nicolas Alvear,”            :
                                           :
                           Defendant.      :

                                 STATEMENT OF OFFENSE

       Pursuant to Federal Rule of Criminal Procedure 11, the United States of America, by and

through its attorney, the United States Attorney for the District of Columbia, and the defendant,

Eduardo Nicolas Alvear Gonzalez, with the concurrence of his attorney, agree and stipulate to the

below factual basis for the defendant’s guilty plea—that is, if this case were to proceed to trial, the

parties stipulate that the United States could prove the below facts beyond a reasonable doubt:

                        The Attack at the U.S. Capitol on January 6, 2021

       1.        The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is

secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include

permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only

authorized people with appropriate identification are allowed access inside the U.S. Capitol.

       2.        On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members

of the public.

       3.        On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint

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session, elected members of the United States House of Representatives and the United States

Senate were meeting in separate chambers of the United States Capitol to certify the vote count of

the Electoral College of the 2020 Presidential Election, which had taken place on November 3,

2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately

1:30 p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.

United States Vice President Michael R. Pence was present and presiding, first in the joint session,

and then in the Senate chamber.

        4.       As the proceedings continued in both the House and the Senate, and with Vice

President Pence present and presiding over the Senate, a large crowd gathered outside the U.S.

Capitol. As noted above, temporary and permanent barricades were in place around the exterior of

the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd

away from the Capitol building and the proceedings underway inside.

        5.       At approximately 2:00 p.m., certain individuals in the crowd forced their way

through, up, and over the barricades, and officers of the U.S. Capitol Police, and the crowd

advanced to the exterior façade of the building. The crowd was not lawfully authorized to enter or

remain in the building and, prior to entering the building, no members of the crowd submitted to

security screenings or weapons checks by U.S. Capitol Police Officers or other authorized security

officials.

        6.       At such time, the certification proceedings were still underway and the exterior

doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.

Capitol Police attempted to maintain order and keep the crowd from entering the Capitol; however,

shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by

breaking windows and by assaulting members of law enforcement, as others in the crowd



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encouraged and assisted those acts. The riot resulted in substantial damage to the U.S. Capitol,

requiring the expenditure of more than $1.4 million dollars for repairs.

       7.       Shortly thereafter, at approximately 2:20 p.m., members of the United States House

of Representatives and United States Senate, including the President of the Senate, Vice President

Pence, were instructed to—and did—evacuate the chambers. Accordingly, all proceedings of the

United States Congress, including the joint session, were effectively suspended until shortly after

8:00 p.m. the same day. In light of the dangerous circumstances caused by the unlawful entry to

the U.S. Capitol, including the danger posed by individuals who had entered the U.S. Capitol

without any security screening or weapons check, Congressional proceedings could not resume

until after every unauthorized occupant had left the U.S. Capitol, and the building had been

confirmed secured. The proceedings resumed at approximately 8:00 p.m. after the building had

been secured. Vice President Pence remained in the United States Capitol from the time he was

evacuated from the Senate Chamber until the session resumed.

                  Gonzalez’s Participation in the January 6, 2021, Capitol Riot

       8.       At or around 2:30 p.m., Mr. Gonzalez was unlawfully on the Capitol grounds and

eventually entered the Capitol building through an entrance on the West side that directly leads

to the Rotunda.

       9.       Mr. Gonzalez wore red, white, and blue American flag pants, an olive green long

sleeve shirt, and a cowboy hat.

       10.      At around 2:36 p.m., Mr. Gonzalez walked up the stairs from the West entrance,

past multiple law enforcement officers and entered the Rotunda.

       11.      While in the Rotunda, Mr. Gonzalez recorded himself and others in photographs

and videos.



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         12.    At 2:44 p.m., Mr. Gonzalez exited the Rotunda and entered Statuary Hall until

returning to the Rotunda at 2:47 p.m.

         13.    On multiple occasions, Mr. Gonzalez smoked marijuana in the Rotunda and

distributed marijuana to other individuals unlawfully inside the Capitol building.

         14.    At 3:06 p.m., Mr. Gonzalez exited the Rotunda into the East Rotunda Door

interior with others unlawfully inside the Capitol building. Mr. Gonzalez attempted to turn

around and go back to toward the Rotunda, but at least one law enforcement officer grabbed Mr.

Gonzalez and directed him toward the exit. Mr. Gonzalez continued to record his surroundings

including the law enforcement officer who removed him from the Capitol building.

         15.    At 3:07 p.m., Mr. Gonzalez exited the Capitol building through the East Rotunda

doors.

         16.    The defendant knew at the time he entered the U.S. Capitol Building that that he

did not have permission to enter the building and the defendant paraded, demonstrated, or

picketed.



                                                     Respectfully submitted,


                                                    CHANNING D. PHILLIPS
                                                    Acting United States Attorney
                                                    D.C. Bar No. 415793




                                             By:
                                                     Troy A. Edwards, Jr.
                                                     Anne Veldhuis
                                                     Assistant United States Attorneys



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                           DEFENDANT’S ACKNOWLEDGMENT

       I, Eduardo Nicolas Alvear Gonzalez, have read this Statement of the Offense and have
discussed it with my attorney. I fully understand this Statement of the Offense. I agree and
acknowledge by my signature that this Statement of the Offense is true and accurate. I do this
voluntarily and of my own free will. No threats have been made to me nor am I under the influence
of anything that could impede my ability to understand this Statement of the Offense fully.


      9/20/21
Date:__________________              ______________________________
                                     Eduardo Nicolas Alvear Gonzalez
                                     Defendant


                           ATTORNEY’S ACKNOWLEDGMENT

       I have read this Statement of the Offense and have reviewed it with my client fully. I
concur in my client's desire to adopt this Statement of the Offense as true and accurate.



Date:                                ________________________________
                                     Anthony Martin
                                     Attorney for Defendant




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Date: 9/20/21
                                     Eduardo Nicolas Alvear Gonzalez
                                     Defendant


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Date:    ,2!.~,Zi..




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